       Case 4:22-cv-07608-HSG Document 22 Filed 12/23/22 Page 1 of 5




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 7

 8                                 UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10

11 Apple Inc.,                                     CASE NO. 5:22-cv-07608-HSG
12                   Plaintiff,                    STIPULATION FOR EXTENSION OF
                                                   TIME FOR DEFENDANT ALIVECOR,
13         vs.                                     INC TO ANSWER OR OTHERWISE
                                                   RESPOND TO COMPLAINT PURSUANT
14 AliveCor, Inc.,                                 TO CIVIL LOCAL RULE 6-1(A)
15                   Defendant.                    The Honorable Haywood S. Gilliam
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                                                                       Case No. 5:22-cv-07608-HSG
                                               STIPULATION FOR EXTENSION OF TIME FOR ALIVECOR
                                                TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT
        Case 4:22-cv-07608-HSG Document 22 Filed 12/23/22 Page 2 of 5




 1          Plaintiff Apple Inc. (“Plaintiff”) and Defendant AliveCor, Inc. (“AliveCor”), through their

 2 respective attorneys of record herein and without waiving any rights, claims, or defenses they have

 3 in this action, enter into this Stipulation pursuant to Civil Local Rule 6-1(a), with reference to the

 4 following circumstances:

 5          WHEREAS, Plaintiff filed its Complaint on December 2, 2022;

 6          WHEREAS, AliveCor was served with the Complaint on December 9, 2022;

 7          WHEREAS, AliveCor’s response to the Complaint is currently due on December 30, 2022;

 8          WHEREAS, the parties have met and conferred and Plaintiff has agreed to extend

 9 AliveCor’s time to answer or otherwise respond to the Complaint until January 30, 2023;
10          WHEREAS, this extension will not alter or otherwise impact the date of any event or any

11 deadline already fixed by Court order;

12          THEREFORE, the parties, through their counsel, hereby stipulate that AliveCor’s deadline

13 to answer or otherwise respond to the Complaint shall be extended until January 30, 2023.

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15          IT IS SO STIPULATED.

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                                                                          Case No. 5:22-cv-07608-HSG
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                                                   TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT
      Case 4:22-cv-07608-HSG Document 22 Filed 12/23/22 Page 3 of 5




 1 DATED: December 23, 2022          KIRKLAND & ELLIS, LLP

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 3
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                                      STIPULATION FOR EXTENSION OF TIME FOR ALIVECOR
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        Case 4:22-cv-07608-HSG Document 22 Filed 12/23/22 Page 4 of 5




 1 DATED: December 23, 2022                     ALSTON & BIRD, LLP

 2
                                                 By /s/ Philip C. Ducker
 3
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                                                      Attorneys for AliveCor, Inc.
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11                                    E-FILING ATTESTATION

12          I, Philip C. Ducker, am the ECF User whose ID and password are being used to file this

13 document. In Compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the signatories

14 identified above have concurred in this filing.

15

16 DATED: December 23, 2022

17                                                             By:    /s/ Philip C. Ducker
                                                                      Philip C. Ducker
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       Case 4:22-cv-07608-HSG Document 22 Filed 12/23/22 Page 5 of 5




 1                                 CERTIFICATE OF SERVICE

 2         I, Philip C. Ducker, hereby certify that on December 23, 2022, the foregoing document was

 3 filed and served electronically, using the CM/ECF system, on all parties registered to receive

 4 notices.

 5

 6 DATED: December 23, 2022

 7                                                         By: /s/ Philip C. Ducker
                                                                  Philip C. Ducker
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